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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA, )
                          )
         Plaintiff,       )
                          ) C.A. No. 20-1744-CFC
    v.
                          )
WALMART INC. AND WAL-MART )
STORES EAST, LP,          )
                          )
         Defendants.      )
                          )

                   DEFENDANTS’ MOTION TO DISMISS IN PART
         On January 18, 2024, the Court held oral argument on Defendants’ Motion to

Dismiss the Amended Complaint. D.I. 108. During that hearing, the Government

proposed filing a Second Amended Complaint “for purposes of splitting up the

claims [in prior Count I].” Id. at 126. The Court agreed to this proposal. Id. at 157.

         With the Second Amended Complaint now filed, Defendants Walmart Inc.

and Wal-Mart Stores East, LP (“Walmart”), by and through undersigned counsel,

hereby move to dismiss Counts II, III, and IV of the Second Amended Complaint

(D.I. 109) with prejudice pursuant to Fed. R. Civ. P. 12(b)(6) (the “Motion”). 1



         Walmart continues to maintain that paragraphs 482, 489, 508, 513, and 521-
         1

522 of the Second Amended Complaint fail to state additional claims beyond those
otherwise asserted in Count I, because those paragraphs do not present sufficiently
particularized allegations about identifiable sets of prescriptions. See D.I. 84 at 16-
18; D.I. 94 at 8-9. In light of the Court’s concerns stated at the hearing about the
propriety of dismissing parts of a single count, however, Walmart will address the
legal deficiency of those paragraphs, as needed, in discovery or summary judgment.


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         Per the Court’s instruction, the Motion contains no new briefing (D.I. 108 at

131), as the grounds for this Motion are set forth in the Opening Brief (D.I. 84) and

Reply Brief (D.I. 94) filed in connection with the Amended Complaint.

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